Case 1: 04- --Cr 10103- .]DT Document 20 Filed 05/20/05 Page 1 of 2 Page|D 21
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IN THE UNITED STATES DISTRICT COURT OSHJ " ~».\\
FOR THE WESTERN DISTRICT OF TENNESSEE 730 p " O,/]

EASTERN DIVISION _,, ,'52:_;_. __ a
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Plaimifr, 4-/¢4;£,§//;@§
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Vs. No. 04-10103-T t' ‘/
DAVID BoNDs,
Defendant.
oRDER CONTINUING TRIAL

AND EXCLLJDING DELAY

Upon oral motion of counsel for defendant David Bonds, with no objection from the
government and for good cause shown, the trial date which is currently scheduled for May 23,
2005, is hereby continued. Defendant contends that additional time is needed for preparation
for the trial.

The court finds that the defendant’s need for a continuance for additional preparation
outweighs the best interests of the public and the defendant in a speedy trial; therefore, the ends
of justice will be served by granting a continuance in order to allow the defendant more time to

prepare for trial. Accordin l the trial is continued from Ma 23 2005 to June 15 2005 at

 

9:30 A.M. The resulting period of delay, from May 23, 2005, to June 15, 2005, is excluded
pursuant to 18 U.S.C. § 3161(h)(8)(A).
A new report date is scheduled for June 6, 2005, at 8:45 a.rn.
IT IS SO ORDERED.

 

JQ@/MA.M

S D. TODD
TED S'I`ATES DISTR_ICT JUDGE

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DATE

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Honorable J ames Todd
US DISTRICT COURT

